                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

MISSOURI PRIMATE FOUNDATION,                           )
CONNIE BRAUN CASEY, individually,                      )
ANDREW SAWYER, individually, and                       )
JANE DOES 1 and 2,                                     )
                                                       )
       Plaintiffs and Counterclaim                     )
       Defendants,                                     )
                                                       )       Case No. 4:16-cv-02163
v.                                                     )
                                                       )
PEOPLE FOR THE ETHICAL                                 )
TREATMENT OF ANIMALS, INC. and                         )
ANGELA SCOTT a/k/a ANGELA G.                           )
CAGNASSO, individually,                                )
                                                       )
       Defendants and                                  )
       Counterclaim Plaintiffs.                        )
                                                       )


       OFFER OF JUDGMENT BY PLAINTIFF/COUNTERCLAIM DEFENDANT

                                    CONNIE BRAUN CASEY

       COMES NOW Plaintiff/Counterclaim Defendant Connie Braun Casey (“Ms. Casey”), by

and through the undersigned counsel, and states that, while she vehemently denies People for the

Ethical Treatment of Animals, Inc.’s and Angela Scott a/k/a Angela G. Cagnasso’s (collectively

“Counterclaim Plaintiffs’”) personally hurtful allegations against her, and while she deeply loves

her chimpanzees that are at issue in this case for which she has provided great care and attention

over many years (including building expansive enclosures and providing them with a wide variety

of enrichment and a healthy diet), she has reluctantly concluded that it is in the best interest of her

chimpanzees that this case be resolved and that her chimpanzees be taken and placed in an

appropriate sanctuary as sought by Counterclaim Plaintiffs in a peaceful manner that is no more

disruptive or traumatic for the chimpanzees than necessary. Ms. Casey therefore hereby offers to
allow entry of judgment to be taken against her and in favor of Counterclaim Plaintiffs pursuant

to Rule 68 of the Federal Rules of Civil Procedure as follows:

       1.   Count 1:

               a. Entering a declaratory judgment that there is sufficient evidence by which this

                  Court may find that Counterclaim Defendant’s treatment of endangered

                  chimpanzees violated the ESA’s prohibition on the “take” of an endangered

                  species set forth in 16 U.S.C. § 1538(a)(1)(B) and corresponding regulations;

               b. Enjoining Counterclaim Defendant pursuant to 16 U.S.C. § 1540(g)(1)(A) from

                  violating the ESA and its implementing regulations with respect to endangered

                  chimpanzees;

               c. Enjoining Counterclaim Defendant from owning or possessing any endangered

                  chimpanzees in the future; and

               d. Appointing a special master or guardian ad litem to determine the most

                  appropriate placement for the forfeited chimpanzees, consistent with their best

                  interests, at wildlife sanctuaries that are accredited by the Global Federal of

                  Animal Sanctuaries and that will provide animals with appropriately sized

                  naturalistic habitats, adequate socialization, and expert care.

       2. Count 2:

               a. Entering a declaratory judgment that there is sufficient evidence by which this

                  Court may find that Counterclaim Defendant violated 16 U.S.C. § 1538(a)(1(D)

                  and corresponding regulations by possessing endangered chimpanzees who

                  have been unlawfully taken by Counterclaim Defendant;
               b. Enjoining Counterclaim Defendant pursuant to 16 U.S.C. § 1540(g)(1)(A) from

                   violating the ESA and its implementing regulations with respect to endangered

                   chimpanzees;

               c. Enjoining Counterclaim Defendant from owning or possessing any endangered

                   chimpanzees in the future;

               d. Appointing a special master or guardian ad litem to determine the most

                   appropriate placement for the forfeited chimpanzees, consistent with their best

                   interests, at wildlife sanctuaries that are accredited by the Global Federal of

                   Animal Sanctuaries and that will provide animals with appropriately sized

                   naturalistic habitats, adequate socialization, and expert care.

       If Counterclaim Plaintiffs do not accept this offer, they may become obligated to pay

Counterclaim Defendant’s costs incurred after the making of this offer in the event that they do

not recover a judgment that is more favorable than this offer of judgment pursuant to Rule 68(d)

of the Federal Rules of Civil Procedure.

       To accept this offer, Counterclaim Plaintiffs must serve written notice of acceptance

thereof within fourteen (14) days of the date this offer is made.

       This offer is not to be construed in any way as an admission of liability by the Counterclaim

Defendant, but rather is made solely for the purpose of compromising a disputed claim.
Dated this 15th day of June, 2018.

                                                   Respectfully Submitted,

                                                   KLAR, IZSAK & STENGER, L.L.C.

                                            By:    /s/ Daniel T. Batten______
                                                   BRIAN D. KLAR, #36430
                                                   DANIEL T. BATTEN, #58810
                                                   Attorneys for Co-Defendant
                                                   1505 S. Big Bend Blvd.
                                                   St. Louis, Missouri 63117
                                                   Phone: 314-863-1117
                                                   Fax: 314-863-1118
                                                   Email: bklar@lawsaintlouis.com
                                                           dbatten@lawsaintlouis.com


                              CERTIFICATE OF SERVICE

I hereby certify that on June 15, 2018, the foregoing was electronically filed with the Clerk
of the Court using the CM/ECF system, by which notification of such filing was electronically
sent and served via first class mail, postage prepaid, to the following:


POLSINELLI PC                                              Patrick J. Hanley, Esq.
KELLY J. MUENSTERMAN (#66968)                              214 E. Fourth Street
JAMES P. MARTIN (#50170)                                   Covington, KY 41011
100 S. Fourth Street, Suite 1000                           Attorney for Plaintiff/Counterclaim
St. Louis, MO 63102                                        Defendant Vito Stramaglia
314.889.8000
Fax No: 314.231.1776                                       Missouri Primate Foundation
kmuensterman@polsinelli.com                                12338 State Road CC
jmartin@polsinelli.com                                     Festus, MO 63028

PETA FOUNDATION                                            Geordie Duckler
JARED S. GOODMAN                                           9397 SW Locust Street
(Admitted Pro Hac Vice)                                    Tigard, OR 97223
2154 W. Sunset Blvd.                                       geordied@animallawpractice.com
Los Angeles, CA 90032                                      Attorneys for Plaintiff/Counterclaim
323.210.2266                                               Defendant Andrew Sawyer
Fax No: 213.484.1648
Attorneys for Defendant/Counterclaim
Plaintiff


                                                                  /s/ Daniel T. Batten
